
726 S.E.2d 860 (2012)
STATE
v.
Anthony Leon HOOVER.
No. 370P04-11.
Supreme Court of North Carolina.
June 13, 2012.
Anthony Leon Hoover, Bayboro, for Hoover, Anthony Leon.
Elizabeth N. Strickland, Special Deputy Attorney General, for State of N.C.
Thomas J. Keith, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 29th of May 2012 by Defendant for Writ of Mandamus on Motion Writ of Habeas Corpus Ad Duces Testifu Candum:

*861 "Motion Dismissed by order of the Court in conference, this the 13th of June 2012."
HUDSON, J. recused.
